             Case 4:20-cv-03664-YGR Document 1038 Filed 10/24/23 Page 1 of 10
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19                              UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA

21   CHASOM BROWN, WILLIAM BYATT,                      Case No.: 4:20-cv-03664-YGR-SVK
     JEREMY DAVIS, CHRISTOPHER
22   CASTILLO, and MONIQUE TRUJILLO                    PLAINTIFFS’ MOTION FOR
     individually and on behalf of all other similarly PROTECTIVE ORDER
23   situated,
                                                       Judge: Hon. Yvonne Gonzalez Rogers
24                                                     Date: November 29, 2023
                           Plaintiffs,
         v.                                            Time: 9:00 a.m.
25                                                     Location: Courtroom 1 – 4th Floor
26   GOOGLE LLC,
                           Defendant.
27


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 1           PLEASE TAKE NOTICE that on November 29, 2023, at 9:00 a.m., the undersigned will
 2   appear before the Honorable Yvonne Gonzalez Rogers of the United States District Court for the
 3   Northern District of California to move the Court for a protective order prohibiting Google from
 4   disclosing materials in Plaintiffs’ technical expert Mr. Jonathan Hochman’s Opening and Expert
 5   Rebuttal Reports that have been designated as “confidential” and subsequently sealed by this
 6   Court. This Motion is made under Federal Rule of Civil Procedure 26 and Civil Local Rule 79-
 7   5, and it is based on this Notice of Motion and Motion, the accompanying Memorandum of Points
 8   and Authorities, the concurrently filed declaration of Ryan McGee and accompanying exhibits,
 9   all matters of which the Court may take judicial notice, other pleadings and papers on file in this
10   action, and other written or oral argument that Plaintiffs may present to the Court.
11                                      ISSUE TO BE DECIDED
12           Whether the Court should issue a protective order prohibiting Google from disclosing to
13   the Texas Attorney General (in response to a request for production) certain materials from
14   Plaintiffs’ technical expert Mr. Jonathan Hochman’s Opening and Expert Rebuttal Reports that
15   have been designated by Plaintiffs as “confidential” and subsequently sealed by this Court?
16                                       RELIEF REQUESTED
17           Plaintiffs respectfully ask the Court to issue a protective order prohibiting Google from
18   disclosing said materials. Plaintiffs do not object to Google disclosing material that Google has
19   previously sought to seal, redacting in full the materials that Plaintiffs have sought to seal and
20   the Court subsequently granted. See Dkt. 804.
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 1   I.       INTRODUCTION

 2            During the Parties’ class certification briefing, Google moved to exclude opinions from

 3   a retired FBI agent who testified that Google can and does provide private browsing data to

 4   governments when subpoenaed. See, e.g., Dkt. 663 at 8 (asserting that “opinion is based on the

 5   shaky ground of anecdotal and non-verifiable experience”). But what Google suggested was a

 6   hypothetical has become reality: the Texas Attorney General has issued a Request for Production

 7   (not even a subpoena) to Google for all “expert disclosures and reports, including all expert

 8   backup material” from all of Plaintiffs’ experts in this case, including the data that Google

 9   produced to Plaintiffs during the Special Master process. See Declaration of Ryan J. McGee

10   (“McGee Decl.”), Ex. 1. This would include detailed personal and sensitive information about

11   Plaintiffs, like their account subscriber information, their personal information in the form of

12   unique identifiers, and their detailed browsing activity (hereinafter, Plaintiffs’ “Designated

13   Material”).

14            The Court has already sealed Plaintiffs’ Designated Materials. See Dkt. 804 at 32–33

15   (sealing paragraphs, exhibits, and appendices of Plaintiffs’ technical expert Mr. Hochman’s

16   Opening and Rebuttal Expert Reports that contain Plaintiffs’ personal and sensitive information).

17   Instead of opposing this request and respecting Plaintiffs’ privacy, Google has taken the position

18   that it will “produce the requested documents, maintaining the original confidentiality

19   designations in its production to the State of Texas.” See McGee Decl., Ex. 1. In other words,

20   Google will seek to keep confidential the number of logs this data exists in, the names of those

21   logs, how the data in those logs is used by Google, and other information that Google deems

22   “confidential,” but the actual data that exists in those logs—Plaintiffs’ data—is free reign for the

23   Texas Attorney General (and other non-parties) to review and do with it as it pleases.

24            To be clear: Plaintiffs do not wholesale object to Google providing these expert reports

25   to the Texas Attorney Generally. Instead, Plaintiffs seek to maintain the privacy of their personal

26   and sensitive Designated Material and respectfully request that the Court maintain as sealed those

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 1   portions of the expert reports and issue a protective order that would prohibit dissemination of

 2   Plaintiffs’ Designated Material contained in those expert reports.

 3   II.       LEGAL STANDARD

 4             This Court has previously applied the “good cause” standard for sealing materials in this

 5   case. See Dkts. 608 (Plaintiffs’ motion to seal) and 804 (Court’s order evaluating and finding

 6   “good cause” to seal materials). The “good cause” standard balances a party’s narrowly-tailored

 7   request to seal certain information with the competing interests of the public. Kamakana v. City

 8   & County of Honolulu, 447 F.3d 1172, 1178–79 (9th Cir. 2006) (citing Foltz v. State Farm Mut.

 9   Auto Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)) (marks omitted). The “strong presumption

10   of public access does not apply” to documents sealed under the “less exacting” good cause

11   standard. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1099 (9th Cir. 2016). But

12   even where the “compelling reasons” standard applies, and there is a “strong presumption of

13   public access,” courts have granted sealing motions for documents that contain personal

14   identifying information like financial documents that contain sensitive and confidential

15   information. Pension Plan for Person Tr. Fund for Operating Eng’rs. v. Giacalone Elec. Servcs.,

16   Inc., 2015 WL 3956143, at *10 (N.D. Cal. June 29, 2015).

17             Federal Rule of Civil Procedure 26(c)(1) provides that “[a] party or any person from

18   whom discovery is sought may move for a protective order[.]” Where a party shows “good cause”

19   that court may “issue an order to protect a party or person from annoyance, embarrassment,

20   oppression, or undue burden or expense.” Id. Where a subpoena requests information that would

21   implicate the privacy rights of a non-party to that subpoena, that non-party has standing to

22   challenge the subpoena, including obtaining a protective order. Koh v. S.C. Johnson & Son, Inc.,

23   2011 WL 940227, *2 (N.D. Cal. Feb. 18, 2011).

24             “General limitations on discovery apply with equal force to subpoenas to non-parties as

25   they do to parties.” Cabell v. Zorro Productions, Inc., 294 F.R.D. 604, 607 (W.D. Wash. 2013).

26   The party seeking discovery bears the burden in the first instance to show that the information it

27   seeks is “relevant to a claim or defense” and “proportional to the needs of [the] case” in light of

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 1   factors such as “the importance of the issues at stake in the action,” “the parties’ relative access

 2   to relevant information,” “the importance of the discovery in resolving the issues,” and “whether

 3   the burden or expense of the proposed discovery outweighs its likely benefit.” Woods v. Google

 4   LLC, 2018 WL 5941122, *1 (N.D. Cal. Nov. 14, 2018). The Court “should balance the interests

 5   in allowing discovery against the relative burdens that would be imposed.” Koh, 2011 WL

 6   940227, at *2.

 7   III.    ARGUMENT

 8           A.       Google Acknowledged the Sensitivity of the Designated Materials by
                      Requiring Plaintiffs to Submit Consent Forms to Access that Information
 9
             Plaintiffs in this case were required by Google to execute consent forms authorizing
10
     Google to provide electronically stored information (“ESI”) and Personal Information (as defined
11
     under the California Civil Code Section 1798-140, including activity on any website and
12
     information associated with any Client ID cookie, IP address, and other identifiers) that Google
13
     had collected and stored in myriad logs. See Dkt. 133-1 (resolving dispute over Google’s
14
     production of Plaintiffs’ data, approving the Stored Communications Act consent form from
15
     Calhoun). That data was subsequently produced through the Special Master process, whereby
16
     the scope of that consent was limited to Google, Plaintiffs, and the Special Master. Id.
17
             Now, without any Court authorization or amended consent forms from Plaintiffs
18
     expanding the scope of that consent, Google has no problem providing that same information to
19
     the Texas Attorney General in response to a request for production. McGee Decl., Ex. 1. This
20
     raises constitutional concerns under the Fourth Amendment, as the request from the Texas
21
     Attorney General is not even a subpoena, but rather a discovery request. Without further context,
22
     Plaintiffs cannot speculate or further formulate any potential constitutional challenges, but
23
     Google’s about-face with respect to the sensitivity of this information is troubling.
24
             B.       Absent an Order on a Motion to Unseal, the Court Should Prohibit Google
25                    from Disseminating any Designated Material that has been Sealed.
26           The Court has already sealed the portions of Plaintiffs’ expert reports that Google now
27   represents it will provide to the Texas Attorney General. See Dkt. 804 at 32 (sealing Opening
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 1   Report at ¶¶ 88–90, 116, 174–78, 224–25, 234, 236, 243, 246–47; sealing Opening Report

 2   Appendix B at ¶¶ 11–13, 18–23, and pages 17–36; sealing Opening Report Appendix G at ¶¶ 7–

 3   8, 24, 26; sealing Opening Report Appendix H table of contents, and ¶¶ 1–41; sealing Opening

 4   Report Appendix I in its entirety; sealing Opening Report Exhibits B–F in their entireties), Dkt.

 5   804 at 33 (sealing Rebuttal Report at ¶¶ 22–23, 30, 38–47, 67–69; sealing Rebuttal Report

 6   Exhibits A and B in their entireties; sealing Rebuttal Report Appendices A–J in their entireties).

 7   But the Designated Material is not only designated as “confidential” or “confidential – attorneys’

 8   eyes only” under the protective order (see generally Dkt. 81), they have been sealed by this Court

 9   at least until trial. Dkt. 804 at FN1.

10           Inexplicably, Google ignores the Court’s order that the Designated Materials are not just

11   designated under the protective order, but have been ordered sealed by this Court. Instead,

12   Google has informed Plaintiffs that absent a motion for protective order, Google “will produce

13   the requested documents, maintaining the original confidentiality designations in its production

14   to the State of Texas.” McGee Decl., Ex. 1. “When the Court grants a motion to seal or otherwise

15   permits a document to remain under seal, the document will remain under seal until further order

16   of the Court.” Civ. L.R. 79-5(g)(1). That finding logically extends to any copies of that document

17   that are in the possession, custody, or control of a party to that litigation. Local Civil Rule 79-

18   5(g)(3) provides that either parties or non-parties may file “a motion requesting that the Court

19   unseal a document,” but Google has not done so here, and instead sought an end-run that only its

20   designated material should remain confidential, and Plaintiffs’ Designated Material is freely

21   accessible by anyone. See McGee Decl. Ex. 1. The Court should not tolerate this gamesmanship

22   and should prohibit Google from disseminating Plaintiffs’ Designated Material in the Hochman

23   Opening and Rebuttal Expert Reports that it has already sealed. Dkt. 804 at 32–33.

24           C.      The Court Should Alternatively Issue a Subsequent Protective Order
25           In the event that the Court finds that its prior sealing order (Dkt. 804) does not forbid
26   Google’s disclosure of Plaintiffs’ Designated Material per se, Plaintiffs respectfully request that
27   the Court issue a subsequent protective order forbidding Google from disclosing such Designated
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 1   Material. There has been no material change in the facts or the law since Plaintiffs moved for,

 2   and the Court granted, sealing of that information.

 3          In the motion to seal portions of Mr. Hochman’s Opening and Rebuttal Expert Reports,

 4   Plaintiffs articulated why that particular information was sensitive and confidential: “the portions

 5   sought to be sealed associate one of the named Plaintiffs (or their experts) with various identifiers

 6   and information related to their browsing.” Dkt. 608 at 5. Plaintiffs’ sealing request was narrowly

 7   tailored, seeking to seal account numbers, IP addresses, browsing history, and unique identifiers.

 8   Id. These narrowly-tailored proposals would “not interfere with the public’s ability to understand

 9   the judicial process,” and should not interfere with the Texas Attorney General’s ability to

10   understand Mr. Hochman’s opinions since none of the opinions were redacted. Ojmar US, LLC

11   v. Sec. People, Inc., 2016 WL 6091543, at *2 (N.D. Cal. Oct. 19, 2016).

12          Importantly, “an individual’s privacy interest” is a compelling reason to seal and prevent

13   disclosure of a document. See Nursing Home Pension Fund v. Oracle Corp., 2007 WL 3232267,

14   at *2 (N.D. Cal. Nov. 1, 2017) (allowing redaction of home addresses and financial account

15   information); see also Giacalone Elec. Servs., Inc., 2015 WL 3956143, at *10. Under the

16   “compelling reasons” test, courts routinely seal documents that contain personally identifiable

17   information. Stiner v. Brookdale Senior Living, Inc., 2022 WL 1180216, at *2 (N.D. Cal. March

18   30, 2022) (sealing employees’, residents’, and other individuals’ “contact and other personally-

19   identifying information”); Cancino Castellar v. Mayorkas, 2021 WL 3678440, at **3–4 (S.D.

20   Cal. Aug. 19, 2021) (finding a “compelling interest” to maintain under seal records that contain

21   personal information); Ashton Woods Holdings LLC v. USG Corp., 2021 WL 4497868, at *2

22   (N.D. Cal. Feb. 8, 2021) (finding “compelling reasons” to seal “potentially sensitive identifying

23   information” including “phone numbers associated with Defendants’ employees”); Deluca v.

24   Farmers Ins. Exchange, 2019 WL 13202012, at *2 (N.D. Cal. May 15, 2019) (finding that sealing

25   was appropriate where documents contained information “that would allow a member of the

26   public to derive the identity” of an individual); Am. Automobile Ass’n of N. Cal., Nev., & Utah,

27   2019 WL 1206748, at *2 (N.D. Cal. Mar. 14, 2019) (finding compelling reasons to seal

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 1   personally identifiable information, “including names, addresses, phone numbers, and email

 2   addresses”); Hadley v. Kellogg Sales Co., 2018 WL 7814785, at *3 (N.D. Cal. Sep. 5, 2018)

 3   (sealing records containing phone numbers and addresses); Slot Speakers Techs., Inc. v. Apple,

 4   Inc., 2017 WL 386345, at *4 (N.D. Cal. Jan. 27, 2017 (sealing portions of documents that contain

 5   “personal account numbers and email addresses”); Benedict v. Hewlett-Packard Co., 2014 WL

 6   233827, at *3 (N.D. Cal. Jan. 21, 2014) (sealing personal information, including a home address,

 7   phone number, and email address); Nursing Home Peonsion Fund v. Oracle Corp., 2007 WL

 8   3232267, at *2 (N.D. Cal. Nov. 1, 2007) (recognizing that the “Ninth Circuit has found that

 9   compelling reasons exist to keep personal information confidential to protect an individual’s

10   privacy interest and to prevent exposure to harm or identity theft”) (citing Foltz, 331 F.3d 1134).

11          Indeed, in another case Google moved to seal this information for its current and former

12   employees, “including their email addresses and telephone numbers[.]” Snapkeys, Ltd. v. Google

13   LLC, 2021 WL 1951250 (N.D. Cal. May 14, 2021). In Snapkeys, Google advocated for sealing

14   the personally identifiable information of its current and former employees because it was “in

15   consideration of the privacy interests of th[o]se [employees], and in order to protect its employees

16   and systems from malicious attacks by third parties.” Snapkeys, No. 5:19-cv-02658-LHK, Dkt.

17   97 at 4 (N.D. Cal. March 18, 2021). Google also argued that “publishing the information may

18   also increase the risk of unsolicited contact with [those] employees.” Id.

19          Here, it is unclear why Google believes the Texas Attorney General would need access

20   to the materials that Plaintiffs designated under the protective order (Plaintiffs’ identities tied to

21   identifiers like account IDs, email addresses, IP addresses, user agent strings, and browsing

22   histories). Plaintiffs are not opposed to the T exas Attorney General receiving Mr. Hochman’s

23   expert reports and examining the opinions that Mr. Hochman provided, but it is unclear how

24   Plaintiffs’ identifiers, browsing histories, and other designated information is “relevant to a claim

25   or defense” or “proportional to the needs of [the] case” in light of factors such as “the importance

26   of the issues at stake in the action,” “the parties’ relative access to relevant information,” “the

27   importance of the discovery in resolving the issues,” and “whether the burden or expense of the

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 1   proposed discovery outweighs its likely benefit.” Woods, 2018 WL 5941122, *1.

 2   IV.    CONCLUSION

 3          Plaintiffs respectfully request that the Court maintain the orders sealing Plaintiffs’ expert

 4   reports, issue a protective order preventing the dissemination of the information that they have

 5   previously moved to seal and the Court granted. Dkt. 804 at 32–33.

 6   Dated: October 24, 2023

 7                                                 By /s/ John A. Yanchunis

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